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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

JASON CARROLL                                   §
                                                §
v.                                              §         Case No. 2:21-CV-0392-RSP
                                                §
CITY OF JEFFERSON, TEXAS, ET AL.                §

                                         JUDGMENT

       THIS case having come on for trial before a jury on June 26, 2023, the Honorable Roy S.

Payne presiding, and the jury having rendered its unanimous verdict on June 28, 2023,
.
       IT IS HEREBY ORDERED AND ADJUDGED that:

       (1) Plaintiff Jason Carroll’s claim against Defendant City of Jefferson for deprivation of

           a name-clearing hearing under 42 U.S.C. § 1983 is dismissed with prejudice, and

       (2) Defendant is adjudged to have violated the Texas Open Meetings Act in connection

           with the discharge of Plaintiff, and Plaintiff is awarded judgment against Defendant

           in the amount of $50,000.00 on that claim.

       (3) All other claims asserted by Plaintiff against Defendants in the above-captioned case

          are hereby dismissed.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 30th day of June, 2023.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
